                     Case 23-59714-lrc             Doc 1        Filed 10/03/23 Entered 10/03/23 08:13:34                                  Desc
                                                                Petition Page 1 of 6

                                                                                                                                                 OFFICE
                                                                                                                              FILE0 114 CiS
Fill in this information to identify your case:                                                                               U.S.13ANW4.U;,T. CY COURT

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA                                                                                                 2023 OCT -3 N 8: 06
Case number Of known)                                                       Chapter      7
                                                                                                                                                 "
                                                                                                                         D Check if t

           23.                                                                                                                a rid
                                                                                                                                      .




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.    Debtor's name               AUBYN INVESTMENT, LLC


2.    All other names debtor
      used in the last 8 years
      Include any assumed
      names, trade names and
      doing business as names

3.    Debtor's federal
      Employer Identification     XX-XXXXXXX
      Number (EIN)


4.    Debtor's address            Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  7765 Haynes Park Circle                                         5424 Savoy Chase Crossing Drive
                                  Lithonia, GA 30038                                              Lithonia, GA 30038
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  DeKalb                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


 5.   Debtor's website (URL)


 6.   Type of debtor              •   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                  12 Partnership (excluding LLP)
                                  o Other. Specify:




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Debtor    AUBYN INVESTMENT, LLC                                                                           Case number Of known)
          Name



7.   Describe debtor's business       A. Check one:
                                      O Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                      •       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                      O Railroad (as defined in 11 U.S.C. § 101(44))
                                      O Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                      O Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                      El Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                      CI None of the above

                                      B. Check all that apply
                                      0 Tax-exempt entity (as described in 26 U.S.C. §501)
                                      O Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                      O Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourtstiov/four-diqit-national-association-naics-codes.



8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?                   •       Chapter 7

     A debtor who is a "small        O Chapter 9
     business debtor" must check O Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                     O The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                            noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                         $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                    operations, cash-flow statement, and federal income tax return or if any of these documents do not
     "small business debtor") must                      exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                  O The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                        debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                        proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                        balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                        any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                O    A plan is being filed with this petition.
                                                                0    Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                     accordance with 11 U.S.C. § 1126(b).
                                                                ID   The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                     Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                     Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                     (Official Form 201A) with this form.
                                                                 O   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                      El Chapter 12

9.   Were prior bankruptcy            El No.
     cases filed by or against
     the debtor within the last 8         •   Yes.
     years?
     If more than 2 cases, attach a                             Georgia Northern
     separate list.                                  District   District                      When       8/31/15                  Case number   15-66636-mgd
                                                     District                                 When                                Case number




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Debtor                                                                                                         Case number (If known)
          AUBYN INVESTMENT, LLC
          Name

10. Are any bankruptcy cases                   • No
    pending or being filed by a
    business partner or an                     0 Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                                Debtor                                                                   Relationship
                                                           District                                 When                            Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                       •            Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                    preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       0            A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or             •       No
    have possession of any
                                                          Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal          0 Yes
    property that needs
    immediate attention?                                  Why does the property need immediate attention? (Check all that apply.)
                                                          0 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                            What is the hazard?
                                                          0 It needs to be physically secured or protected from the weather.
                                                          0 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                            livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                          0 Other
                                                          Where is the property?
                                                                                           Number, Street, City, State & ZIP Code
                                                          Is the property insured?
                                                          0 No
                                                          0 Yes.      Insurance agency
                                                                      Contact name
                                                                      Phone



           Statistical and administrative information

13. Debtor's estimation of                           Check one:
    available funds
                                                     0 Funds will be available for distribution to unsecured creditors.

                                                      •    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    • 1-49                                              0 1,000-5,000                              0 25,001-50,000
    creditors                                                                                  05001-10,000                               050,001-100,000
                                           0 50-99
                                           0100-199                                            0 10,001-25,000                            0 More than100,000
                                           0 200-999


15. Estimated Assets                            $0 - $50,000                                   0   $1,000,001 -$10 million                0   $500,000,001 -$1 billion
                                           •
                                           0    $50,001 -$100,000                              0   $10,000,001 -$50 million               0   $1,000,000,001 -$10 billion
                                           0    $100,001 - $500,000                            0   $50,000,001 -$100 million              0   $10,000,000,001 -$50 billion
                                           0    $500,001 - $1 million                          0   $100,000,001 - $500 million            0   More than $50 billion


16. Estimated liabilities                  •    $0 - $50,000                                   0 $1,000,001 - $10 million                 0 $500,000,001 - $1 billion

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Debtor   AUBYN INVESTMENT, LLC                                                        Case number (if known)
         Name

                             0 $50,001 -$100,000                      0 $10,000,001 -$50 million               0 $1,000,000,001 -$10 billion
                             0 $100,001 - $500,000                    11 $50,000,001 - $100 million            0 $10,000,000,001 -$50 billion
                             0 $500,001 -$1 million                   0 $1 00,000,001 - $500 million           0 More than $50 billion




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Debtor    AUBYN INVESTMENT, LLC                                                                    Case number (if known)
          Name


          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17.Declaration and signature
   of authorized                  The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
   representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       October 2, 2023
                                                   MM! DD / YYYY


                             X   /s/ Dave Fairclough                                                      Dave Fairclough
                                 Signature of authorized representative of debtor                         Printed name ,

                                 Title   Member




30.Signature
   Signature of attorney     X   Is/ Dave Fairclough                                                       Date October 2, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Dave Fairclough
                                 Printed name


                                 Firm name




                                 Number, Street, City, State & ZIP Code


                                 Contact phone      1.11111.11111.               Email address



                                 Bar number and State




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Case Number: 23-59714                           Name:           Aubyn Investment Chapter: 7 Division: Atlanta

Please submit the following original documents to the Court for filing so that the case will proceed timely. Failure to comply may
result in the dismissal of your case.
If filing bankruptcy without an attorney, please read the information regarding Filing Bankruptcy without an Attorney at:
www.uscourts.gov/services-forms/bankruptcy/filing-without-attorney.

El Individual - Series 100 Forms                                                          El Non-Individual - Series 200 Forms
Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov.

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                      Petition Deficiencies:
 El Complete List of Creditors (names and addresses of all creditors)                     O Last 4 digits of SSN
 O Pro Se Affidavit (signature must be notarized,                                         • Address
 or witnessed by a Court Intake Clerk, accompanied by a picture I.D.)                     • Statistical Estimates
 D Signed Statement of SSN                                                                0 Other:
MISSING DOCUMENTS DUE WITHIN 14 DAYS
El Statement of Financial Affairs                                                                            Case filed via:
E1 Schedules: A/B D E/ F G H                                                        CZ Intake Counter by:
El Summary of Assets and Liabilities                                                     O Attorney
El Declaration About Debtor(s) Schedules                                                 0 Debtor
O Attorney Disclosure of Compensation                                                    El Other: Dave St Aubyn Fairclough 770-827-3831
D Petition Preparer's Notice, Declaration and Signature (Form 119)                  O Mailed by:
O Disclosure of Compensation of Petition Preparer (Form 2800)                          0 Attorney
▪ Chapter 13 Current Monthly Income                                                    O Debtor
O Chapter 7 Current Monthly Income                                                     O Other:
O Chapter 11 Current Monthly Income
• Certificate of Credit Counseling (Individuals only)                               0 Email [Pursuant to General Order 45-2021, this petition
I=1 Pay Advices (Individuals only) (2 Months)                                       was received for filing via email]
O Chapter 13 Plan, complete with signatures (local form)
El Corporate Resolution (Non-Individual Ch. 7 & 11)                                               History of Case Association
                                                                                    Prior cases within 2 years: 23-56237
 MISSING DOCUMENTS DUE WITHIN 30 DAYS
 O Statement of Intent — Ch.7 (Individuals only)
                                                                                    Signature:             z              ('4Ø41
 Ch.11 Business                                                                     Acknowledgment of recebt of Deficiency No1ce
 O 20 Largest Unsecured Creditors
 El List of Equity Security Holders
 ID Small Business - Balance Sheet                                                   Intake Clerk:      r.smith         ID Verified M Date:10/3/23
 O Small Business - Statement of Operations
 O Small Business - Cash Flow Statement
 • Small Business - Federal Tax Returns

FILING FEE INFORMATION
Online Payment for Filing Fee https://www.ganb.uscourts.gov/online-payments (not for chapter 13 plan payments)
      El Paid $
      Ci Pending Pay.Gov, Paid $
      El IFP filed (Ch.7 Individuals Only)
         2g-Order Granting       D 3g-Order Granting 10-day (initial payment of $_____ due within 10 days)
       El 2d-Order Denying with filing fee of $           due within 10 days
       El No Application to Pay in Installments, Order Regarding Unpaid Case Filing Fee.
                              You may mail documents and filing fee payments (no personal checks or cash accepted) to the address below.
                          All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                                     UNITED STATES BANKRUPTCY COURT
                                                       75 Ted Turner Drive, SW, Room 1340
                                                                 Atlanta, Georgia 30303
                                                                     404-215-1000
